  Case 18-23307-CMG               Doc 94       Filed 02/12/21 Entered 02/12/21 09:51:38              Desc Main
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  UNITED STATES BANKRUPTCY COURT
  District of New Jersey

  Albert Russo, Standing Chapter 13 Trustee
  CN 4853
  Trenton, NJ 08650-4853
  609-587-6888
  By: Albert Russo

  In re:
                                                                 Chapter 13 Case No. 18-23307 / CMG
  Wilbur Ulyesses Mallory, Jr.
  Kim Leona Mallory                                              Judge: Christine M. Gravelle
                                              Debtors


                             NOTICE OF RESERVE ON FILED CLAIM

Creditor:                  CHRISTINA TRUST
Trustee Claim ID:          3
Court Claim No:            3-1
Claimed Amount:            $235,873.83
Date Claim Filed:          09/10/2018

Please be advised that a reserve has been placed on the above named claim for the following reason( s):

           ·   The creditor has returned payments indicating that the loan servicing was transferred, but no Transfer
               of Claim has been filed with the Bankruptcy Court.


Unless we receive the information needed or the necessary documents are filed with the Bankruptcy Court, we
will continue to reserve the funds and the funds will be sent to the United States Bankruptcy Court upon the
closing of the case.

DATED: 2/12/2021                                                 /s/ Albert Russo
                                                                 Albert Russo
                                                                 Standing Chapter 13 Trustee
